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                                                         Exhibit A to the Complaint
Location: New York, NY                                                                              IP Address: 68.129.254.222
Total Works Infringed: 26                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            10-28-     Blacked        10-25-2021    11-11-2021   PA0002321278
           DADDC020188225733D70B4BD7BC3C7A1C5E6DF7F                              2021       Raw
           File Hash:                                                            12:13:42
           66817E5F5203B5D23FD9F101FF93ACEAFCE88D34598DFA5D6CDE4E930490CDFB
 2         Info Hash:                                                            10-20-     Tushy          10-17-2021    11-11-2021   PA0002321294
           1D41990AB5A3C4C31036F316B1BF79C315123F72                              2021
           File Hash:                                                            18:15:49
           12ECE9683A9BC28BC1117CB6E408E662AEE7D8E035206170B47DD4E309FE251B
 3         Info Hash:                                                            10-18-     Blacked        04-17-2018    05-23-2018   PA0002101308
           6AAA3C600904AABE2D4B6B0B13AC1400856AD856                              2021       Raw
           File Hash:                                                            06:50:40
           4D5131F83A161A61BCC759E3AA7729C7BF9F99527E0D0FA59AD26AD5A61316B7
 4         Info Hash:                                                            10-06-     Tushy          09-13-2021    10-05-2021   PA0002315290
           E80911DFB9A223C1D65056D1A4E2AD4B8EAFE8D9                              2021
           File Hash:                                                            19:18:53
           4FAEE6CF727194788E1E339165C431B7DEC10D918A13820CECE400DECA50CDD9
 5         Info Hash:                                                            10-04-     Blacked        09-25-2021    10-05-2021   PA0002315288
           8F5305E4A5285CF5A766334ABC97D190CB1AC874                              2021
           File Hash:                                                            10:10:44
           84723E9F05287A7F8EA5504E6382D15F7CBAA540619211B9334DD6B6647267BB
 6         Info Hash:                                                            10-04-     Blacked        09-29-2021    11-11-2021   PA0002321302
           B3CF1BC90895F4A5C53C9B30A7EB76F20B525656                              2021
           File Hash:                                                            10:10:37
           A92FCFF6E4F800D2DC258FF1F12F6581EDDC834A3A47873F8CAC6636C8636108
 7         Info Hash:                                                            10-04-     Vixen          09-29-2021    11-11-2021   PA0002321322
           B5AA5C3AB921F95936B7D911457ED412E86496CC                              2021
           File Hash:                                                            10:10:34
           622428573E787EC0A79B734175F79713DFADA96C407F7EC2D81CBEA1D8D2AE54
 8         Info Hash:                                                            09-29-     Tushy          02-05-2018    02-20-2018   PA0002104194
           35716DE321621E8E0C6E0CCBBDAE0F46628F447A                              2021
           File Hash:                                                            21:33:13
           A2532A60F98F1150D7CA2A1B34F5C29647CC1B1CDDA893DE0EAD967140B49AC8
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         09-19-     Vixen     09-13-2021   10-05-2021   PA0002315286
       1A73D8163644CA83E455669951E0582657F422E8                           2021
       File Hash:                                                         15:18:27
       8BD1C16FAA5C47663ADA3CA5D2931DDD6D6FF4CFADA05F3FC545F4D565B08042
10     Info Hash:                                                         09-19-     Blacked   09-13-2021   10-05-2021   PA0002315289
       95CE8FC9995512C1376E50826F5B4E44B0E5D8AD                           2021
       File Hash:                                                         15:18:11
       31DF0005E5E991AE9D3F6056712C424E8D3AC8BC44E29DA31AC3C255F2F7E712
11     Info Hash:                                                         09-09-     Blacked   01-02-2018   01-26-2018   PA0002101761
       DBAA02153CB1ACE3D2D3133FD8A00C6766453DA5                           2021       Raw
       File Hash:                                                         02:44:05
       8F50BCF41DEEA9CB475E77E05BFE90341DA3F03214D1506CC7B08009A850E053
12     Info Hash:                                                         09-09-     Blacked   12-21-2020   01-05-2021   PA0002269958
       08E4516F2B10B7116E9DFDC23BAD089C16D51A99                           2021       Raw
       File Hash:                                                         02:40:15
       59CC496DF2C8E95867635AE3E980F1431D87E8711786E031BF179B341324DF38
13     Info Hash:                                                         09-07-     Tushy     09-05-2021   09-21-2021   PA0002312671
       9166337185E648B47AAEFA857CDFC5288A1BA5FA                           2021
       File Hash:                                                         21:51:33
       F30AD5E122CC7A08179414E20BF3E69012CDEC3105935416D6C8193BCFF2FDD1
14     Info Hash:                                                         08-31-     Vixen     03-19-2021   04-14-2021   PA0002286735
       2AA08A9659D3253B9DA04A8BA71ABBB9DAE10FCD                           2021
       File Hash:                                                         01:38:27
       CD0B6984F24C8EF6E188C5A68904A690720892824238225AA7F310411A8709A9
15     Info Hash:                                                         08-31-     Blacked   01-11-2021   02-26-2021   PA0002283703
       747D3FC7E024B3165FFCC028FBD37CBE09D1B640                           2021       Raw
       File Hash:                                                         01:32:34
       B0D40E41F0DC9D5094ADFC31E36D551DA13B07625F4C9F1E1CF922851D82B78D
16     Info Hash:                                                         08-31-     Tushy     08-29-2021   09-21-2021   PA0002312672
       0DED1D076E0C283D05660F54E5970AACF14DE8D4                           2021
       File Hash:                                                         01:31:30
       41DCC423B7AB8D656E993CC97FCC84C6F2630BFB0642391C3A6C7DE276572C59
17     Info Hash:                                                         08-23-     Blacked   08-19-2021   09-30-2021   PA0002319752
       F1584FAF400BC09FABE20E779B802AFC7FE8A611                           2021       Raw
       File Hash:                                                         17:22:12
       24C378B8BACF28DAC8B8B20B69A1BD1ECEDFE895E79BB51DB21C6A2B80B5D914
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         08-19-     Blacked   07-31-2021   08-23-2021   PA0002308430
       5CE4C6692AD15F515DF3FAB30155F5D949705690                           2021
       File Hash:                                                         17:16:12
       6F140C2C7C78CEE0121DB05D1A4902A2257BB25DB37777F99ECEE5BFB7E82C6E
19     Info Hash:                                                         08-19-     Blacked   08-14-2021   08-23-2021   PA0002308398
       2DEBFB2D58D17A4DD87260D8761C937E2D3FB6C8                           2021
       File Hash:                                                         17:11:21
       5227155C139879FEABC60A356F3B8984A10F9875ED1A40A93B1D8FFA063C9DF3
20     Info Hash:                                                         08-19-     Tushy     08-15-2021   08-23-2021   PA0002308401
       4B9A8463F0FBAAEB3D89398BD2E72F6762E3A2E6                           2021
       File Hash:                                                         12:16:47
       2A432F4B2985F283FDB6A3F28DCB67E189DF5FD6A6A609EFA7A572FA356D191C
21     Info Hash:                                                         07-27-     Vixen     09-06-2018   11-01-2018   PA0002143433
       B80966EB25CE62DA272DA719ED0EFEF0C671D237                           2021
       File Hash:                                                         17:09:57
       880F10162CDB56DC5247BDCEB67E9A21030D9D6959F71B6C800B1B850F8DDE38
22     Info Hash:                                                         07-17-     Blacked   07-03-2021   08-02-2021   PA0002305091
       2F7F33BF3A666ABE2F530743283BCDE814015848                           2021
       File Hash:                                                         15:07:59
       2A98BD6222D5067954E6E39B48F5307B88F73327A96596ADE8DC8E3EDD3E8C25
23     Info Hash:                                                         07-06-     Blacked   06-26-2021   07-08-2021   PA0002300662
       0B3211C8AA683053AD9C2205D34C75107F839A20                           2021
       File Hash:                                                         05:48:05
       B31A11000A19FCB59304064245993EEE63E01F14BF15B7D0776CE1173C608E7F
24     Info Hash:                                                         06-15-     Vixen     04-23-2021   04-27-2021   PA0002288949
       EAFFC4AF758749CA06B41D83162652ECC6AD6085                           2021
       File Hash:                                                         18:02:32
       FB353E4A109C89425834A36C41FCB0BFBBB32F67D9AD8E1B6F619A1E7A099F56
25     Info Hash:                                                         06-15-     Blacked   05-31-2021   06-15-2021   PA0002296925
       7B5C509F0E138C25DA7E1CFEDEBD4AA7B5DCF4BC                           2021       Raw
       File Hash:                                                         05:45:52
       7A28194A1CC4B1F19B17D5740386B6F1D8D499F361CF1FCC92F31BEF672E1653
26     Info Hash:                                                         04-05-     Tushy     03-14-2021   03-22-2021   PA0002282514
       5167AC74AE2BC1DC8217D9D9F650397D03565CF0                           2021
       File Hash:                                                         15:32:39
       86B858693F785B38CD42D483226C479FC8F3EFCE6A2F13AE4D99816128528085
